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 4   Trustee
 5
 6                     UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF WASHINGTON
 7
 8 In re:                                        Case No. 18-03197 FPC 7

 9 GIGA WATT, Inc., a Washington                 The Honorable Frederick P. Corbit
   corporation,
10                                               Chapter 7
11                       Debtor.                 CHAPTER 7 TRUSTEE’S MOTION
                                                 FOR ORDER APPROVING
12                                               SETTLEMENT AGREEMENT (RI
                                                 LANDLORD)
13
            Mark D. Waldron, in his official capacity as the Chapter 7 Trustee (the
14
     “Trustee”), hereby moves (the “Motion”) the Court pursuant to 11 U.S.C. § 363,
15
     Fed. R Bankr. Proc. 9019 and LBR 9019-1 for an Order, as proposed in Exhibit A
16
     attached hereto, approving that certain Settlement of Administrative Claim (the
17
     “Agreement”), a copy of which is attached hereto as Exhibit B.
18
            This Motion is supported by the Memorandum of Points and Authorities in
19
     Support of the Chapter 7 Trustee’s Motion for Order Approving Settlement
20
     Agreement (RI Landlord) (“Memorandum”) and the Declaration of Mark D.
21
     Waldron in Support of the Chapter 7 Trustee’s Motion for Order Approving
22
   Settlement Agreement (RI Landlord), filed herewith.
23 Ch. 7 Trustee’s Motion for Order

24 Approving Settlement Agreement
   (RI Landlord) - Page 1
25
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 1        As set forth in the Memorandum filed herewith and subject to the Court’s
 2 approval, the Agreement resolves the administrative claims of the TNT Business

 3 Complexes, LLC (the “RI Landlord”) in which they asserted the right to pay of
 4 $83,250 on an administrative basis for post-petition, pre-conversion rent, fees and
 5 damages allegedly arising from the Debtor’s lease of a warehouse from the RI
 6 Landlord. The warehouse is located in Rock Island, Douglas County, Washington.
 7 Pursuant to the Agreement, the RI Landlord will have one administrative claim in
 8 the amount of $65,400. Payment of this settled administrative claim would be

 9 subject to further Court order. The Agreement also provides for mutual releases of
10 all issues related to the RI Lease.
11        WHEREFORE, the Trustee respectfully requests entry of an Order:
12        1.     Granting the Motion;
13        2.     Approving the Agreement; and,
14        3.     Granting such other and further relief as the Court deems necessary
15 and just.
16 Dated: February 8, 2021                 POTOMAC LAW GROUP PLLC
17
                                     By:        /s/ Pamela M. Egan    ____
18                                         Pamela M. Egan (WSBA No. 54736)
19                                         Attorneys for Mark D. Waldron, Chapter 7
                                           Trustee
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23 Ch. 7 Trustee’s Motion for Order

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